           Case 16-24825-JAD                     Doc 59-1 Filed 01/08/18 Entered 01/08/18 10:15:12                                                        Desc
                                                Exhibit A - Sales Agreement Page 1 of 18
                               STANDARD AGREEMENT FOR THE SALE OF REAL ESTATE                                                                                       ASR
                        Thisrorni rccommendcd andapproved Tor, buinotrestricted lo use by, themembers of ihcPennsylvania Association of Realtors'(PAR).
                                                                                 PARTIES

BUYER(S):                                                                              SELLER(S):
M. Kent Moorhead II and Sharon A. Moorhead                                              Natalie Lutz Cardiello, Trustee


BUYER'S MAILING ADDRESS:                                                               SELLER'S MAILING ADDRESS:
855 Benton Ave, Pittsburgh PA 15212



                                                                               PROPERTY


ADDRESS (including postal city) 622 Bascom Avenue
Pittsburgh, PA                                                                                                                     ZIP 15212
in the municipality of RossTwp                                                                                             County ofAllegheny County
in the School District of North Hills                                                                                        , in the Commonwealth of Pennsylvania.
Tax ID                                                                                                                                                                 and/or
Identification (e.g., Parcel #; Lot, Block; Deed Book, Page, Recording Date): 114-B-270 and 114-B-272

                                            BUYER'S RELATIONSHIP WITH PA LICENSED BROKER
 • No Business Relationship (Buyer is not represented by a broker)
Broker(Company) Achieve Realty                                                          Licensee(s) (Name)[essica Baker

Company License # RB065444                                                              State License # RS319623
Company Address 10475 Perry Hwry / Ste 200                                              Direct Phone(s) 412-760-7006
                 Wexford, PA 15090                                                     Cell Phone(s)Same
Company Phone 724-933-1980                                                              Email AGENT.[.BAKER@gmail.com
Company Fax                                                                             Licensee(s) is (check only one):
Broker is (check only one):                                                            • Buyer Agent (all company licensees represent Buyer)
E3 Buyer Agent (Broker represents Buyer only)                                           0 BuyerAgent with Designated Agency (only Licensee(s) named
• Dual Agent (See Dual and/or Designated Agent box below)                                  above represent Buyer)
                                                                   n Dual Agent (See Dual and/or Designated Agent box below)
                  • Transaction Licensee (Brokerand Licensee(s) provide realestateservices but do not represent Buyer)

                                           SELLER'S RELATIONSHIP WITH PA LICENSED BROKER
 • No Business Relationship (Seller is not represented by a broker)
Broker (Company) Coldwell Banker                                                        Licensee(s) (Name) Donna Fischer

Company License RB0066636                                                               State License # RS214640L
Company Address                                                                         Direct Phone(s) 412-996-5044
                                                                                        Cell Phone(s)
Company Phone                                                                           Emai1DonnaRFischer@aol.com
Company Fax                                                                             Licensee(s) is (check only one):
Broker is (check only one):                                                             • SellerAgent (all company licensees represent Seller)
• SellerAgent (Broker represents Selleronly)                                            • SellerAgentwith Designated Agency (only Licensee(s) named
• Dual Agent (See Dual and/or Designated Agent boxbelow)                                   above represent Seller)
                                                                    • Dual Agent (See Dual and/or Designated Agent box below)
                    • Transaction Licensee (Broker and Licensee(s) provide real estate services but do not represent Seller)

                                                          DUAL AND/OR DESIGNATED AGENCY
A Broker is a Dual Agent when a Broker represents both Buyer and Seller in the same transaction. A Licensee is a Dual Agent when a
Licensee represents Buyer and Seller in the same transaction. All of Broker's licensees are also Dual Agents UNLESS there are separate
DesignatedAgents for Buyer and Seller. If the same Licensee is designated for Buyer and Seller, the Licensee is a DualAgent.
By signing this Agreement, Buyer and Seller each acknowledge having been previously informed of, and consented ti                                                1agency,
if applicable.
 Buycrinitials=J„;^„,t/J,^,l                                                   ASR Page 1 of 13                                        Seller Inilialsf
                 '1:S8PME0T    1;07PM£DT


                                                                                                           COPVRtGlIT PENNSYLVANIA ASSOCIATION OF REALTOKS« 2017
^        Pennsylvania Association of Realtors*                                                                                                               rev. 6/17; rel. 7/17
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I            1.   By this Agreement. datedlO/18/2017
                  Seller hereby agrees to sell and convey to Buyer, who agrees to purchase, the identified Property.
             2. PURCHASE PRICE AND DEPOSITS (4-14)
                (A) Purchase Price $ 170,000One Hutidred and SeventyThousand US Dollars
                      (
                                                                                                            _U.S. Dollars), to be paid by Buyer as follows:
                      1. Initial Deposit, within       days (5 if not specified) of Execution Date,
                         if not included with thisAgreement;                                                 $ 8.500
'                     2. Additional Deposit within              days of the Execution Date:                  $
i»                    3.                                                                                     ^
11                    Remaining balance will be paid at settlement.
1-                (B) Allfunds paid by Buyer, includingdeposits, will be paid by check, cashier's checkor wired funds.Allfunds paid by Buyer
I'                    within 30 days of settlement, including funds paid at settlement, will be by cashier's checkor wired funds, but not by per-
II                    sonal check.
IS                (C) Deposits, regardless of the form of payment, will be paid in U.S. Dollars to Broker for Seller (unless otherwise stated here:
I"                    Title Company, Avid Settlement                                                                  ^^^                           )>
I"                    who will retain deposits in an escrow account in conformity with all applicable laws and regulations until consummation or ter-
is                    mination ofthis Agreement. Only real estate brokers are required to hold deposits in accordance with the rules and regulations of
IV                    the State Real Estate Commission. Checks tendered as deposit monies may be held uncashed pending the execution of this
            Agreement.
    I 3. SELLER ASSIST (If Applicable) (l-IO)
                  Seller will pay SzERO                                             or ZERO                % of Purchase Price (0 if not specified) toward
->                Buyer's costs, as permitted by the mortgage lender, if any. Seller is only obligated to pay up to the amount or percentage which is
"                 approved by mortgage lender.
             4. SETTLEMENTAND POSSESSION (4-14)
                  (A) Settlement Date isTBD                                                                       or before if Buyer and Seller agree.
                  (B) Settlement will occur inthe county where the Property is located or in an adjacent county, during normal business hours, unless
    s                 Buyer and Seller agree otherwise.
                  (C) At time ofsettlement, the following will be pro-rated on a daily basis between Buyer and Seller, reitnbursing where applicable:
*(i                   current taxes; rents; interest on mortgage assumptions; condominium fees and homeowner association fees; water and/or sewer
;i                    fees, together with any other lienable municipal service fees. All charges will beprorated for the period(s) covered. Seller will pay
                      up to and including the date ofsettlement and Buyer will pay for all days following settlement, unless otherwise stated here:
u                 (D) Forpurposes of prorating real estatetaxes, the "periods covered" are as follows:
<5                    1. Municipal tax bills for all counties and municipalities in Pennsylvania are for the period from January I to December 31.
u.                    2. School tax bills for the Philadelphia, Pittsburgh and Scranton School Districts are for theperiod from January 1to December 31.
5-                         School tax bills for all other school districts are for the period from July I to June 30.
                  (E) Conveyance from Seller will be by fee simple deed of special warranty unless otherwise stated here:
                  (F) Payment of transfer taxes will be divided equally between Buyer and Seller unless otherwise stated here:_
n

'•                (G) Possession is to be delivered by deed, existing keys and physical possession to a vacant Property free of debris, with all structures
1>                    broom-clean, at dayandtime of settlement, unless Seller, before signing thisAgreement, hasidentified in writing thattheProperty
M                      is subject to a lease.
»>                (H) If Seller has identified in writing that the Property is subject to a lease, possession is to be delivered by deed, existing keys and
41.                   assignment ofexisting leases for the Property, together with security deposits and interest, ifany, atday and time ofsettlement. Seller
I                     will not enter into any new leases, nor extend existing leases, for the Property without the written consent of Buyer. Buyer will
It'                   acknowledge existing lease(s) by initialing the lease(s) at theexecution of thisAgreement, unless otherwise stated inthisAgreement.
•'                    • Tenant-Occupied Property Addendum (PARForm TOP) is attached and made part of this Agreement.
        1)   5. DATES/TIME IS OF THE ESSENCE (1-10)
•I                (A) Writtenacceptance of all parties will be on or before:
                  (B) The Settlement Date and all other dates and times identified for the performance of any obligations of thisAgreement are of the
                       essence and are binding.
                  (C) TheExecution Date of thisAgreement is thedatewhen Buyer andSeller have indicated lull acceptance of thisAgreement bysign
    's                ing and/or initialing it. For purposes of this Agreement, the number of days will be counted from the Execution Date, excluding
                      theday thisAgreement wasexecuted and including the last day of the timeperiod. All changes to this Agreement should be ini-
    '                  tialed and dated.
                  (D) The Settlement Date is not extendedby any other provision of this Agreement and may only be extendedby mutual written agree-
-'                     ment of the parties.
                  (E) Certain terms and time periods are pre-printed in this Agreement as a convenience to the Buyerand Seller. All pre-printed terms
        1             and time periods are negotiable and may be changed by striking out the pre-printed text and inserting different termsacceptable
        -              to all parties, except where restricted by law.



•A           Buyer InitiaU:_                           [_                      ASR Page 2of 13                           Seller Initials:.
                                                 £01
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.4      6.   ZONING (4-14)
             Failureof this Agreement to contain the zoning classiilcation (except in cases where the property {and each parcel thereof, if subdi-
             vidable} is zonedsolely or primarily to permitsingle-family dwellings) will render this Agreement voidableat Buyer's option, and, if
             voided, any deposits tendered by the Buyer will be returned to the Buyer without any requirement for court action.
iS           Zoning Classlflcation, as set forth in the local zoning ordinance: single Family Residence
V'      7.   FIXTURES AND PERSONAL PROPERTY (1-17)
             (A) INCLUDED in this sale, unless otherwise stated, are all existing items permanently installed In or on the Property, free of liens,
                 and other items including plumbing; heating; gas fireplace logs; radiator covers; lighting fixtures (including chandeliers and ceil
                 ing fans); pools, spas and hot tubs (including covers and cleaning equipment);electric animal fencing systems (excludingcollars);
                 garage door openers and transmitters; television antennas; mounting brackets and hardware for televisionand sound equipment;
                 unpotted shrubbery, plantings and trees; smoke detectors and carbon monoxide detectors; sump pumps; storage sheds; fences;
                 mailboxes; wall to wall carpeting; existingwindow screens, storm windows and screen/storm doors; window covering hardware
                 (including rods and brackets), shades and blinds; awnings; central vacuum system (with attachments); built-in air conditioners;
                 built-in appliances; the range/oven; dishwashers; trash compactors; any remaining heating and cooking fuels stored on the
 H               Property at the time of settlement; and, if owned, water treatment systems, propane tanks, satellite dishes and securitysystems.
                 Unless stated otherwise, the following items are included in the sale, but not in the Purchase Price:


             (B) The following items are LEASED (not owned by Seller). Contact the provider/vendorfor more information(e.g., water treatment
                 systems, propane tanks, satellite dishesand security systems):
             (C) EXCLUDED fixtures anditems:
             MORTGAGE CONTINGENCY (9-16)                                                                                                   ^                 ~
             •   WAIVED. This sale is NOTcontingent on mortgage financing, although Buyer mayobtain mortgage financing and/orthe parties
sS               may include an appraisal contingency.
             Q   ELECTED.
>11



M                First Mortgage on the Property                                           Second Mortgage on the Property
                 Loan Amount $ 136,000                                                    Loan Amount $
• I
                 Minimum Term 30                       years                              Minimum Term                        years
}'i              Type ofmortgage Conventional                                    Type of mortgage
>5.              For conventional loans, the Loan-To-Value (LTV) ratio is not to For conventional loans, the Loan-To-Value (LTV) ratio is not to
                 exceed 80          %                                                     exceed          %
                 Mortgage lender VictorianFinance                                         Mortgage lender

                 Interest rate4.125          %; however. Buyer agrees to accept the       Interest rate          %; however. Buyer agrees to accept the
HH)              interest rate as may be committed by the mortgage lender, not            interest rate as may be committed by the mortgage lender, not
UtI              to exceed a maximum interest rate of4.5              %.                  to exceed a maximum interest rate of                 %.
H(?.             Discount points, loan origination, loan placement and other fees         Discount points, loan origination, loan placement and other fees
HH               chargedby the lenderas a percentageofthe mortgageloan(exclud             charged by the lender as a percentage of themortgage loan(exclud
lO-l             ing any mortgage insurance premiums or VA funding fee) not to            ing any mortgage insurance premiums or VA funding fee) not to
                 exceed                 % (0% if not specified) of the mortgage loan.     exceed              % (0% if not specified) ofthe mortgage loan.
             (B) Upon receiving documentation demonstrating lender's approval, whether conditional or outright, of Buyer's mortgage applica-
                 tion(s) according to the tenns set forth above, Buyer will promptly deliver a copy of the documentation to Seller, but in any case
lUK              no later thanl week priortoclosing             .
n»'>             1. If Seller does not receive a copy of the documentationdemonstratinglender's conditional or outright approval of Buyer's mort
IKI                  gage application(s) by the date indicated above. Seller may terminate this Agreement by written notice to Buyer. Seller's right
lit                  to terminate continues until Buyer delivers documentationdemonstrating lender's conditional or outright approval of Buyer's
n:                  mortgage application(s) to Seller. Until Seller terminates this Agreement pursuant to this Paragraph, Buyer must continue to
It*                 make a good faith effort to obtain mortgage financing.
ii-i             2. Seller may terminate this Agreement by written notice to Buyer af\er the date indicated above if the documentation demon
II?                 strating lender's conditional or outright approval of Buyer's mortgage application(s):
11"                 a. Does not satisfy the terms of Paragraph 8(A), OR
117                 b. Contains any condition not specified in this Agreement (e.g., Buyer must settle on another property, an appraisal must be
tlX                     received by the lender, or the approval is not valid through the Settlement Date) that is not satisfied and/or removed in writ
li"                     ing by the mortgage lender(s) within 7 DAYS af\er the dale indicated in Paragraph 8(B), or any extension thereof, other
uo                      than those conditions that are customarily satisfied at or near settlement (e.g., obtaining insurance, confirming employ
i:i                        ment).
i::              3. If this Agreement is tenninated pursuant to Paragraphs 8(B)(1) or (2), or the mortgage loan(s) is not obtained for settlement,
lU                  all deposit monies will be returned to Buyer according to the terms of Paragraph 26 and this Agreement will be VOID. Buyer
U4                  will be responsible for any costs incurred by Buyer for any inspections or certifications obtained according to thfrterms of this
125                  Agreement, and any costs incurred by Buyer for: (1) Title search, title insurance and/or mechanics' lien insjx^ca, or any fee
!:t)                 for cancellation; (2) Flood insurance, fire insurance, hazard insurance, mine subsidence insurance, or any^egj^xancellation;
' 1'^                (3 Appra sal fees and charges paid in advance to mortgage lender(s).
        Buyer lnltials:_                                                       ASR Page 3 of 13                         Seller Initials:
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I ( C ) The Loan-To-Value ratio (LTV) is used by lenders as one tool to help assess their potential risk of a mortgage loan. A particular
I<11          LTV maybe necessary to qualify for certain loans, or buyers might be required to pay additional fees if the LTV exceeds a specific
m             level. The appraised value of the Property may be used by lenders to determine the maximum amount of a mortgage loan. The
HI            appraisedvalue is determined by an independent appraiser, subject to the mortgage lender's underwriterreview, and may be higher
IX            or lower than the Purchase Price and/or market price of the property.
I<I      (D) The interestrate(s)and fee(s) provisions in Paragraph 8(A) are satisfied if the mortgage lender(s) gives Buyerthe right to guarantee
1            the interestrate(s) and fee(s) at or below the maximum levels stated. If lender(s) gives Buyer the right to lock in the interest rate(s),
i.<i.        Buyer will do so at least 15 days before Settlement Date. Buyer gives Seller the right, at Seller's sole option and as permitted
             by law and the mortgage lender(s), to contribute financially, without promise of reimbursement, to Buyer and/or the mortgage
Ijs           lender(s) to make the above mortgage term(s) available to Buyer.
i.!i     (E) Within         days (7 if notspecified) from the Execution Date of thisAgreement, Buyer will make a completed mortgage appli-
Nii          cation(including payment for and ordering of credit reports without delay) for the mortgage termsand to the mortgage lender(s)
141          identified in Paragraph 8(A), if any, otherwise to a responsible mortgage lender(s) of Buyer's choice. Broker for Buyer, if any,
u:            otherwise Broker for Seller, is authorized to communicate with the mortgage lender(s) to assist in the mortgage loan process,
iji           Broker for Seller, if any, is permitted to contact the morgage lender(s) at any time to determine the status of the mortgage loan
Ml            application.
145      (F) Buyer will be In default of this Agreement If Buyer furnishes false information to anyone concerning Buyer's financial and/or
i4(,         employment status, fails to cooperate in good faith with processing the mortgage loan application (including payment for and
14^          ordering of appraisal without delay), fails to lock in interest rate(s) as stated in Paragraph 8(D), or otherwise causesthe lenderto
I4S          reject, or refuse to approve or issue, a mortgage loan commitment.
14 )     (G) If the mortgage lender(s), or a property and casualty insurer providing insurance required by the mortgage lender(s), requires
15(1         repairs to the Property, Buyerwill, upon receiving the requirements, delivera copy of the requirements to Seller. Within 5
151          DAYS of receiving thecopyof the requirements. Sellerwill notify Buyer whether Sellerwillmake the required repairs at Seller's
15:           expense.
151           1. If Seller makes the required repairs to the satisfaction of the mortgage lender and/or insurer. Buyer accepts the Property and
154                agrees to the RELEASE in Paragraph 28 of this Agreement.
155           2. If Sellerwill not make the required repairs, or if Seller fails to respond within the stated time, Buyer will, within         5
15b                DAYS, notify Seller of Buyer's choice to:
157                a. Make the repairs/improvements at Buyer's expense, with permission and accessto the Property givenby Seller, whichwill
15s                    not be unreasonably withheld, OR
15')               b. Terminate thisAgreement by written notice to Seller, withall deposit monies returned to Buyer according to the terms of
I' ll                   Paragraph 26 of this Agreement.
i"i                If Buyer falls to respond within the time stated in Paragraph 8(G)(2) or fails to terminate this Agreement by written notice to
ic:                Seller within that time. Buyer willaccept the Property, make the required repairs/improvements at Buyer's expense andagree
I"'                to the RELEASE in Paragraph 28 of thisAgreement.
IM                                                             FHAA'A, IF APPLICABLE
Ko       (H) It is expressly agreed that notwithstanding anyotherprovisions of this contract. Buyer will not be obligated to complete the pur
!(.(>        chaseof the Property described hereinor to incurany penalty by forfeiture of earnestmoney deposits or otherwise unless Buyer
I (.7        has been given, in accordance with HUD/FHA or VA requirements, a written statement by the Federal Housing Commissioner,
i6S           Veterans Administration, or a Direct Endorsement Lender setting forth the appraised value of the Property of not less than
uw
              $                                (the Purchase Price as stated in this Agreement). Buyer will have the privilege and option of
ro            proceeding with consummation of the contract without regard to the amount of the appraised valuation. The appraised valuation
fi            is arrived at to determine the maximum mortgage the Department of Housing and Urban Development will insure. HUD does
it:           not warrant the value nor the condition of the Property. Buyershouldsatisfy himself/herself that the price and condition of the
1             Property are acceptable.
17-1          Warning: Section 1010 of Title 18, U.S.C., Department of Housing and Urban Development and Federal Housing
rs            Administration Transactions, provides, "Whoever for the purpose of... influencing in any way the action of such Department,
176           makes, passes, utters or publishes any statement, knowing the same to be false shall be fined under this title or imprisoned not
             more than two years, or both."
17;;     (I) U.S. Department of Housing and Urban Development (HUD) NOTICE TO PURCHASERS: Buyer's Acknowledgement
]•")          •    Buyer has received the HUD Notice "For Your Protection: Geta Home Inspection." Buyer understands the importance of
1)^0               getting an independent home inspection and has thought about this before signing this Agreement. Buyer understands that
IM               FHA will not perform a home inspection nor guarantee the price or condition of the Property.
         (J) Certification We the undersigned, Seller(s) and Buyer(s) party to this transaction each certify that the terms of this contract for
ly}          purchase are true to the best of our knowledge and belief, and that any other agreement entered into by any of these parties in
{Hi          connection with this transaction is attached to this Agreement.
         CHANGE IN BUYER'S FINANCIAL STATUS (4-14)
im.      In the event of a change in Buyer's financial status affecting Buyer's ability to purchase, Buyer shall promptly notify Seller and
IK       lender(s) to whom the Buyer submitted a mortgage application, if any, in writing. A change in financial status includes, but is not lim-
ik;^     ited to, loss or a change in employment; failure or loss of sale of Buyer's home; Buyer's having incurred a new financial obligation;
1^1      entry of a judgment against Buyer. Buyer understands that applying for and/or Incurring an additional financial obligation may
I«       affcct Buyer's ability to purchase.



I')I Buyer inilials: I lo/ig/i?     lona/w 1                           ASR Page4 or 13                         Seller IniliaU;
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i         10. SELLER REPRESENTATIONS (4-14)
!•) '         (A) Status of Water
I'M                Seller represents that the Property is served by:
I'i?               B Public Water • Community Water O On-site Water                     DNone •
I 'o          (B) Status of Sewer
I>•                 I. Seller represents that the Property is served by:
                                  Public Sewer             • Community Sewage Disposal System • Ten-Acre Permit Exemption (see Sewage Notice 2)
                       D Individual On-lot Sewage Disposal System (see Sewage Notice I) G Holding Tank (see Sewage Notice 3)
                       • Individual On-lot Sewage Disposal System in Proximity to Well (see Sewage Notice I; seeSewage Notice 4, ifapplicable)
                       • None (see Sewage Notice I)      • None Available/Permit Limitations in Effect (see Sewage Notice 5)
                      •
    <1^            2. Notices Pursuant to the Pennsylvania Sewage Facilities Act
                        Notice I: There Is no currently existing community sewage system available for the subject property. Section 7 of the
:;ii5                   Pennsylvania Sewage FacilitiesAct provides that no person shall install, construct, request bid proposals for construction,alter,
                        repair or occupy any building or structure for which an individual sewage system is to be installed, without first obtaining a
:ii7                    permit. Buyer is advised by this notice that, before signing this Agreement, Buyer should contact the local agency charged with
                        administering the Act to determine the procedure and requirements for obtaining a permit for an individual sewage system. The
:o)                     local agency charged with administering the Act will be the municipality where the Property is located or that municipality
ii'i                    working cooperatively with others.
;iI                     Notlcc 2; This Property is serviced by an individual sewage system installed under the ten-acre permit exemption provisions
m;                      of Section 7 of the Pennsylvania Sewage FacilitiesAct. (Section 7 provides that a permit may not be required before installing,
•t'                     constructing, awardinga contract for construction, altering, repairing or connectingto an individual sewage systemwhere a ten-acre
;14                     parcel or lot is subdivided from a parent tract after Januaiy 10, 1987). Buyer is advised that soils and site testing were not conducted
; I?                    and that, shouldthe systemmalfiinction, the ownerof the Property or properties serviced by the system at the time of a malfunction
                        may be held liable for any contamination, pollution, public health hazard or nuisance which occurs as a result.
:i:                     Notice 3: This Property is serviced by a holding tank (permanent or temporary) to which sewage is conveyed by a water
MS                      carrying system and which is designed and constructed to facilitate ultimate disposal of the sewage at another site.
                        Pursuant to the Pennsylvania Sewage Facilities Act, Seller must provide a history of the annual cost of maintaining the tank
      !                 from the date of its installation or December 14, 1995, whichever is later.
                        Notice 4: An individual sewage system has been installed at an isolation distance from a well that is less than the dis-
                        tance specified by regulation. The regulations at 25 Pa. Code §73.13 pertaining to minimum horizontal isolation distances
::j                     provideguidance. Subsection (b) of §73.13states that the minimum horizontal isolationdistance betweenan individual water
                        supply or watersupply systemsuctionline and treatment tanks shall be 50 feet. Subsection (c) of §73.13 states that the hori-
iif                     zontal isolation distance between the individual water supply or water supply system suction line and the perimeter of the
;2i>                    absorption area shall be 100 feet.
                        Notice 5; This lot is withinan area in which permit limitations arc in effect and is subjectto thoselimitations. Sewage facilities
                        are not available for this lot and construction of a structure to be servedby sewage facilities may not begin untilthe municipality com-
                        pletes a majorplanning requirement pursuant to the Pennsylvania Sewage Facilities Act and regulations promulgated thereunder.
! -n          (C) Historic Preservation
211                Seller is not aware of historic preservation restrictions regarding the Property unless otherwise stated here:

              (D) Land Use Restrictions
23!                 I. •      Property, or a portion of it, is subject to landuse restrictions and may be preferentially assessed for tax purposes under the
23f                           following Act(s) (see Notices Regarding Land Use Restrictions below):
::w.                          •    Agricultural Area Security Law (Right-to-Farm Act; Act43of 1981; 3 P.S. § 901 et seq.)
:j:                           •    Farmland and Forest Land Assessment Act(Clean and Green Program; Act 319 of 1974; 72 P.S. § 5490.1 et seq.)
2!s                           •    Open Space Act (Act 442 of 1967; 32P.S. § 5001 et seq.)
                              •    Conservation Reserve Program (16 U.S.C. § 3831 et seq.)
uu                            • Other
;-!i               2. Notices Regarding Land Use Restrictions
;4;                     a. Pennsylvania Right-To-Farm Act: The property you are buying may be located in an area where agricultural operations
                           take place. Pennsylvaniaprotects agricultural resources for the productionof food and agricultural products.The law limits
                           circumstanceswhere normal agricultural operations may be subject to nuisance lawsuits or restrictive ordinances,
                        b. Clean and Green Program: Properties enrolled in the Clean and Green Program receive preferential property tax assess-
iii-                        ment. Buyer and Seller have been advised of the need to contact the County Tax Assessment Office before the execution
!n                          of this Agreement to determine the property tax implications that will or may result from the sale of the Property, or that
MX                          may result in the future as a result of any change in use of the Property or the land from which it is being separated.
u"                      c. Open Space Act: This Act enables counties to enter into covenants with owners of land designated as farm, forest, water
!5.i                        supply, or open space land on an adopted municipal, county or regional plan for the purpose of preserving the land as open
:?!                        space. A covenant between the owner and county is binding upon any Buyer of the Property during the period of time that
                            the covenant is in effect (5 or 10 years). Covenants automatically renew at the end of the covenant period unless specific
2? >                           termination notice procedures are followed. Buyer has been advised ofthe need todetermine the restrictiotjj^that will apply
254                            from the sale ofthe Property to Buyer and the property tax implications that will ormay result from acjjrfng^in use ofthe
255                            Property, or any portion of it. Buyer is further advised to determine the terni of any covenant now in i

          Buyer Initials:.                 /                                   ASR Page 5 of 13                         Seller Initials:
                             12.S8PM EOT       t:07PMCDT
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                     d. Conservation Reserve (Enhancement) Program: Properties enrolled in the Conservation Reserve Program or CREPare
                        environmentally-sensitive areas, the owners of which receive compensation in exchange for an agreement to maintain the
!5y                     land in its natural state. Contracts last from 10 to 15 years and carry penaltiesto Seller if terminated early by Buyer. Buyer
IM)                     has beenadvised of the need to determine the restrictions on development of the Propertyand the term of any contract now
U.1                     in effect. Seller is advised to determine the financial implications that will or may resuh fh)m the sale of the Property.
          (E) Real Estate Seller Disclosure Law
                 Generally, the Real EstateSeller Disclosure Lawrequires that beforean agreement of sale is signed, the sellerin a residential real
!64              estatetransfer must make certain disclosures regarding the property to potential buyers in a form defined by the law. A residen
:o5              tial realestatetransferis deflned as a sale,exchange, installment salescontract, leasewith an option to buy, grantor othertransfer
li'b             of an interest in real property where NOT LESS THAN ONE AND NOT MORE THAN FOUR RESIDENTIALDWELLING
:67              UNITS are involved. Disclosures for condominiums and cooperatives are limited to the seller's particular unit(s). Disclosures
\'«S             regarding common areas or facilities are not required, as those elements are already addressed in the laws that govern the resale
:f.y             of condominium and cooperative interests.
          (F) Public and/or Private Assessments
                 1. Sellerrepresents that, as of the date Sellersignedthis Agreement, no publicimprovement, condominium or homeowner asso
                    ciation assessments have beenmadeagainstthe Property whichremain unpaid, and that no noticeby anygovernment or public
                    authority (excluding assessed value) has been served upon Seller or anyone onSeller's behalf, including notices relating to vio
                    lations of zoning, housing, building, safety or fire ordinances that remain uncorrected, and that Seller knows of no condition
                    that would constitute a violation of any such ordinances that remain uncorrected, unless otherwise specified here:

                 2. Sellerknows of no other potential, notices (including violations) and/orassessments exceptas follows:_

          (G) Highway Occupancy Permit
                 Access to a public road may require issuance of a highway occupancy permit from the Department of Transportation.
       11. WAIVER OF CONTINGENCIES (9-05)
2H2       Ifthis Agreement iscontingent onBuyer's right to inspect and/or repair the Property, ortoverify insurability, environmental conditions,
          boundaries, certifications, zoning classification or use, or any other information regarding the Property, Buyer's failure to exercise
IHA       any of Buyer's options witliin tlie times set forth in thisAgreement is a WAIVER of that contingency and Buyer accepts the
           Property and agrees to the RELEASE in Paragraph 28 of this Agreement.
       12. BUYER'S DUE DILIGENCE/INSPECTIONS (9-16)
           (A) Rights and Responsibilities
                 1. Seller will provide access to insurers* representatives and, as may be required by thisAgreement or by mortgage lender(s), to
:s'>                surveyors, municipal officials, appraisers and inspectors. Allparties andtheir real estate licensee(s) ,may attend any inspections.
MO               2. Buyer may make two pre-settlement walk-through inspections ofthe Property. Buyer's right to these inspections is not waived
2')1                by any other provision of this Agreement.
                 3. Seller will have heating and all utilities (including fuel(s)) on for all inspections/appraisals.
293              4. All inspectors, including home inspectors, areauthorized byBuyer to provide a copy of any inspection Report to Broker for Buyer.
                 5. Seller has the right, upon request, toreceive a free copy ofany inspection Report from the party for whom itwas prepared. Unless oth
2'>5                erwisestat^. Sellerdoes not have the right to receivea copy ofany lender's appraisal report.
           (B)   Buyer waives or elects at Buyer's expense to have the following inspections, certifications, and investigations (referred to as
                 "Inspection" or "Inspections") performed by professional contractors, home inspectors, engineers, architects and other properly
                 licensed or otherwise qualified professionals. All inspections shall benon-invasive, unless otherwise agreed in writing. Ifthesame
                 inspector is inspecting more than one system, theinspector must comply with the Home Inspection Law. (See Paragraph 12(D) for
'Ofi             Notices Regarding Property and Environmental Inspections)
m          (C)   For elected Inspection(s), Buyer will, within the Contingency Period stated in Paragraph 13(A), complete Inspections, obtain any
m                Inspection Reports or results (referred to as "Report" or "Reports"), and accept the Property, terminate this Agreement, or submit a
                 written corrective proposal to Seller, according to the terms of Paragraph 13(B).
?{)4                 Home/Property Inspections and Environmental Hazards (mold, etc.)
^i'5    Fleeted Buyer may conduct an inspection of theProperty's structural components; roof; exterior windows and exterior doors;
uu.         [/      [exterior building material, fascia, gutters and downspouts; swimming pools, hot tubs and spas; appliances; electrical^
307                  systems; interior and exterior plumbing; public sewersystems; heating and cooling systems; waterpenetration; elec«
                     tromagnetic fields; wetlands and flood plain delineation; structure square footage; mold and other environmental haz
                     ards (e.g., fungi, indoor air quality, asbestos, underground storage tanks, etc.); and any other items Buyer may select.
MO                   If Buyerelects to have a home inspectionof the Property, as defined in the Home InspectionLaw,the home inspection
Ui                   must be performed by a full member in good standing of a national home inspection association, or a person super
u;                   vised by a full member of a national home inspection association, in accordance with the ethical standards and code
513                  of conduct or practice of that association, or by a properly licensed or registered engineer or architect. (See Notices
Mi                   Regarding Property & Environmental Inspections)
U5                   Wood Infestation
        Elected      Buyer may obtain a written "Wood-Destroying Insect Infestation Inspection Report" from an inspectorcertified as a
                     wood-destroying pests pesticide applicator and will deliver it and all supporting documents and drawings provided
^17
       ZHZ           by the inspector to Seller. The Report is to be made satisfactory to and incompliance with applicable laws, mor^geij'wM
                     lender requirements, and/or Federal Insuring and Guaranteeing Agency requirements. The Inspection is to b
                     to all readily-visible and accessible areas of all structures on the Property, except fences. If the Inspection

       Buyer Initials;.   io/ta/17    /    10/I8/I7 1                     ASR Page 6 of 13                         Seller Initials
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                     active infestation(s). Buyer, at Buyer'sexpense, mayobtain a Proposal from a wood-destroying pestspesticide appli
                     catorto treat the Property. If the Inspection reveals damage from active or previous infestation(s), Buyermayobtain
                     a written Report from a professional contractor, home inspector or structural engineer that is limited to structural
ns                   damage to the Property caused by wood-destroying organisms and a Proposal to repair the Property.
                     Deeds, Restrictions and Zoning
        -ElIcctfid   Buyer may investigate easements, deed and use restrictions (including any historic preservation restrictions or ordi-
                     jnances) that apply to the Property and review local zoning ordinances. Buyer may verily that the present use ofthe
                     Property (such as in-law quarters, apartments, home office, day care, commercial or recreational vehicle parking) isj'
                     permitted and may elect to make the Agreement contingent upon an anticipated use. Present use:^

}"-2                 Water Scrvicc
         Elcctcd     Buyer may obtain an Inspection of thequality andquantity of thewater system from a properly licensed or otherwise Waived
                     qualified water/well testing company. If and as required by the inspection company, Seller, at Seller's expense, will
^>5
        •C           locate and provide access to the on-site (or individual) watersystem. Sellerwill restore the Property to its previousi^s;
».^(.                condition, at Seller's expense, prior to settlement.
^.'7                  Radon
         Eiccted      Buyer may obtain a radon testof theProperty from a certified inspector. TheU.S. Environmental Protection Agency Waived
V'y         (EPA) advises corrective action ifthe average annual exposure to radon is equal to or higher than 0.02 working levels [ _
         DC or
<40            4 picoCuries/liter (4pCi/L). Radon is a natural, radioactive gasthatis produced in the ground by the normal decayzMPME
Ui                   of uranium and radium. Studies indicate that extended exposure to high levels of radon gas can increase the risk of
                     lung cancer. Radon can find its way into any air-space and canpermeate a structure. If a house has a radon problem,
..l.<                it usually can be cured by increased ventilation and/or by preventing radon entry. Any person who tests, mitigates
<.M                  or safeguards a building forradon in Pennsylvania must becertified bytheDepartment of Environmental Protection.
US                   Information about radon and about certified testing or mitigation firms is available through Department of
                      Environmental Protection, Bureau of Radiation Protection, 13th Floor, Rachel Carson State Office Building, P.O.
                      Box 8469, Harrisburg, PA 17105-8469, (800) 23RADON or (717) 783-3594. www.epa.gov
siti                  On-lot Sewage (If Applicable)
?.i9     F.lectcd Ruver may obtain an Inspection of the individual on-lot sewage disposal system from a qualified, professional
J5fi         /|      jinspector. Ifand as required by the inspection company. Seller, at Seller's expense, will locate, provide access to, and
5:^1                 empty the individual on-lot sewage disposal system. Seller will restore the Property to its previous condition, at^sm
                     Seller's expense, prior to settlement. See Paragraph 13(C) for more information regarding the Individual On-lot
                     Sewage Inspection Contingency.
354                  Property and Flood Insurance
!55      Elcctcd Buyer may determine the insurability of the Property by making application for property arid casualty insurance for
*5(.    I [/]        Ithe Property to aresponsible insurer. Broker for Buyer, ifany, otherwise Broker for Seller, may communicate with the
                      insurer to assist in the insurance process. If the Property is located in a specially-designated flood zone, Buyer mayiiswM foDVPMtD
                      be required to carry flood insurance at Buyer's expense, which may need to be ordered 14 days or more prior to
?S'>                  Settlement Date. Revised flood maps and changes to Federal law may substantially increase future flood insurance
Wi                    premiums or require insurance for fontierly exempt properties. Buyer should consult with oneor more flood insur
\tA                   ance agents regarding the need for flood insuranceand possible premium increases.
u^:                   Property Boundaries
^•r,}    Eiccted Buyer may engage the services of a surveyor, title abstractor, or other qualified professional to assess the legal Waived
w,i         y        Idescription, certainty and location ofboundaries and/or quantum of land. Most sellers have not had the Property sur-
            ^        ^veyed as it is not arequirement ofproperty transfer in Pennsylvania. Any fences, hedges, walls and other natural orissmiE
                      constructed barriers may or maynotrepresent thetrue boundary lines of theProperty. Any numerical representations
U>*?             of size of property are approximations only and may be inaccurate.
                 Lead-Based Paint Hazards (For Properties built prior to 1978 only)
W>       Elcctcd Before Buyeris obligated to purchase a residential dwelling built prior to 1978, Buyerhas the option lo conduct a               Waived
r'{i         /I      Irisk assessment and/or inspection of the Property for the presence of lead-based paint and/or lead-based paint haz- [
^"1                   ards. Regardless of whether this inspection is elected or waived, the Residential Lead-Based Paint HazardzswMEODTPMto-
                      Reduction Act requires a seller of property built prior to 1978 to provide the Buyer with an EPA-approved
                      lead hazards information pamphlet titled "Protect Your Family from Lead in Your Home," along with a sep
57-t                  arate form, attached to this Agreement, disclosing Seller's knowledge of lead-based paint hazards and any
                      lead-based paint rccords regarding the Property.
                      Other
^77      El(ctcd ^                                                                                                                               mived.
'7S

•.7^>
                                                                                                                                                 1
^Sli       The Inspectionselected above do not apply to the following existing conditions and/or items:_
^S!

*s:

           (D) Notices Regarding Property & Environmental Inspections
-SI            I. Exterior Building Materials: Poor or improper installation of exterior building materials may result in                    penetrating
                  the surface of a structure where it may cause mold and damage to the building's frame.

<si. Buyer Initials;• . 11 10/18/17 1l_/_
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<»'           2. Asbestos: Asbestos is linked with several adverse health efTects, including various forms of cancer.
              3. Environmental Hazards: The U.S. Environmental ProtectionAgency has a list of hazardous substances, the use and disposal
                 of which are restricted by law. Generally, if hazardous substances are found on a property, it is the property owner's responsi-
                  bility to dispose of them properly.
!oi           4 Wetlands: Wetlands are protectedby the federal and state governments. Buyermay wish to hire an environmental engineerto
'"2              investigate whetherthe Property is located in a wetlands area to determine if permits for plansto build,improve or develop the
                 property would be affected or denied because of its location in a wetlands area.
              5. Mold, Fungi and Indoor Air Quality: Indoor mold contamination and the inhalation pfbioaerosols (bacteria, mold spores,
'"s               pollen and viruses) have been associated with allergic responses.
              6. Additional Information: Inquiries or requests for more information about asbestos and other hazardous substances can be
                 directed to the U.S. Environmental Protection Agency, Ariel Rios Building, 1200 Pennsylvania Ave., N.W., Washington, D.C.
                 20460, (202) 272-0167, and/or the Department of Health, Commonwealth of Pennsylvania, Division of Environmental Health,
                 Harrisburg, PA 17120. Information about indoor air quality issues is available through the Pennsylvania Department of Health
                 and may be obtained by contacting Health & Welfare Building, 8th Floor West, 625 Forster St., Harrisburg, PA 17120, or by
m                 calling 1-877-724-3258.
i02 13. INSPECTION CONTINGENCY (4-14)
         (A) The Contingency Period is             days (10 if not specified) from the Execution Date of this Agreement for each Inspection elected
'ix           in Paragraph 12(C).
io?      (B) Except as stated in Paragraph 13(C), if the result of any Inspection elected in Paragraph 12(C) is unsatisfactory to Buyer, Buyer
              will, within the stated Contingency Period:
i'l:          I. Accept theProperty withthe information stated in the Report(s) andagree to the RELEASE in Paragraph 28 of this Agreement, OR
   <          2. Terminate this Agreement by written notice to Seller, with all deposit monies returned to Buyer according to die terms of
'I '               Paragraph 26 of this Agreement, OR
=1 'i         3. Present theRcport(s) toSdler with a Written Corrective Proposal ("ProposaT) listing corrections and/orcredits desired byBuyer.
»11              TheProposal may, but isnotrequired to, include thename(s) of a properly licensed or qualified professional(s) to perform thecor-
11 ^             rections requested intheProposal, provisions for payment, including retests, and a projected date for completion ofthecorrections.
»!->               Buyer agrees that Seller will not beheld liable for corrections that do not comply with mortgage lender or governmental require-
114                ments if performed in a workmanlike manner according to the terms of Buyer's Proposal.
415                a. Following the end of the Contingency Period, Buyer and Seller will have         days (5 if notspecified) for a Negotiation
lu.                      Period.
117                      (1) During theNegotiation Period, Seller will either agree tosatisfy alltheterms of Buyer's Proposal or negotiate, bywritten
liH                          or verbal communication, another mutually acceptable written agreement, providing for any repairs or improvements to
ii"                          the Property and/or any credit to Buyer at settlement, as acceptable to the mortgage lender, if any.
CO                       (2) If Seller agrees to satisfy all the terms of Buyer's Proposal, or Etuyer and Seller enterinto another mutually acceptable
i:i                          written agreement, Buyer accepts the Property and agrees to the RELEASE in Paragraph 28 of thisAgreement and the
                            Negotiation Period ends.
                   b. If no mutually acceptable written agreement is reached, or if Seller fails to respond, during the Negotiation Period, within
                             days (2 if notspecified) following the end of the Negotiation Period, Buyer will:
1:5                   (1) Accept the Property with the information stated in the Report(s) and agree to the RELEASE in Paragraph 28 of this
                            Agreement, OR
                         (2) Terminate thisAgreement by written notice to Seller, with all deposit monies retumed to Buyer according to theterms
i-s                         of Paragraph 26 of this Agreement.
>:>                If Buyer and Seller do not reach a mutually acccptable written agreement, and Buyer docs not terminate this
                   Agreement by written notice to Seller within the time allotted in Paragraph 13(B)(3)(b), Buyer >vill accept the Property
i.'i               and agree to the RELEASE in Paragraph 28 of this Agreement. Ongoing negotiations do not automatically extend the
                   Negotiation Period.
    •     (C) If a Report reveals the need to expand or replace theexisting individual on-lot sewage disposal system. Seller may, within
              days (25 if not specified) of receiving the Report, submit a Proposal to Buyer. TheProposal will include, butnotbe limited to, the
"-            name of thecompany to perform theexpansion or replacement; provisions forpayment, including retests; and a projected comple-
s"'            tion date for corrective measures. Within      5    DAYS of receiving Seller's Proposal, or if no Proposal is provided within the
"7             stated time. Buyer will notify Seller in writing of Buyer's choice to:
               I. Agree to thetemisof theProposal, accept the Property and agree to the RELEASE in Paragraph 28 of this Agreement, OR
1""            2. Terminate this Agreement by written notice to Seller, with all deposit monies retumed to Buyer according to the terms of
                   Paragraph 26 of this Agreement, OR
'i I           3. Acceptthe Property and the existingsystemand agreeto the RELEASE in Paragraph 28 of thisAgreement. If required by any mort
is:               gage lender and/orany governmental authority. Buyer willcorrect the defects beforesettlement or within the time required by the
                  mortgage lenderand/orgovernmental authority, at Buyer'ssoleexpense, with permission and accessto the Property givenby Seller,
                  which may not be unreasonably withheld, ifSellerdenies Buyerpermission and/or access to correct the defects, Buyer
; i5              may, within 5 DAYS of Seller's denial,terminate this Agreement by writtennotice to Seller, with all depositmoniesretumed
M(.             to Buyer according to the terms of Paragraph 26 of this Agreement.
M7          If Buyer fails to respond within the time stated in Paragraph 13(C) or fails to terminate this Agreement by written notice to
MS          Seller within that time. Buyer will accept the Property and agree to the RELEASE in Paragraph 28 of this Agreement.
.!•> 14. REAL ESTATE TAXES AND ASSESSED VALUE (4-14)
         In Pennsylvania, taxing authorities (school districts and municipalities) and property owners may appeal the assfl         'valueof a prop-

 ' >1 Buyer Initials:,                                                    ASR Page 8 of 13                     Seiier Initia
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is:        ertyat thetime of sale,or at any timethereafter. A successful appeal by a taxing authority mayresult in a higher assessed value for the
15.'       property and an increase in property taxes. Also, periodic county-wide property reassessments may change the assessed value of the
>54        property and result in a change in property tax.
155 15. NOTICES, ASSESSMENTS AND MUNICIPAL REQUIREMENTS (4-14)
«5(.       (A) In the event any notices of public and/or private assessments as described in Paragraph 10(F) (excluding assessed value) are
157            received after Seller hassigned thisAgreement and before settlement. Seller will within 5 DAYS of receiving thenotices and/or
               assessments provide a copy of the notices and/or assessments to Buyer and will notify Buyerin writing thatSeller will:
15"            1. Fully copiply with the notices and/or assessments, at Seller's expense, before settlement. If Seller fully complies with the
                   notices and/or assessments, Buyer accepts the Property and agrees to the RELEASE in Paragraph 28 of thisAgreement, OR
I..I           2. Not comply with the notices and/orassessments. If Sellerchooses not to comply with the noticesand/orassessments, or fails
u.;                within the stated time to notify Buyer whether Seller will comply, Buyerwill notify Sellerin writing within 5 DAYS
                     that Buyer will:
iM                   a. Comply with the notices and/or assessments at Buyer's expense, accept the Property, and agree to the RELEASE in
»'.5                       Paragraph 28 of this Agreement, OR
II.1.                b. Terminate thisAgreement by written notice to Seller, with all deposit monies returned to Buyer according to the terms of
    '                      Paragraph 26 of this Agreement.
li.s               If Buyer fails to respond within thetime stated in Paragraph 15(A)(2) or fails to terminate this Agreement bywritten notice to
ti. )              Seller within thattime. Buyer will acceptthe Propertyandagree to the RELEASE in Paragraph 28 of this Agreement.
m          (B) Ifrequired by law, within 30 DAYS from the Execution Date of this Agreement, but inno case later than 15 DAYS prior
471            to Settlement Date, Seller will order at Seller's expense a certification from the appropriate municipal department(s) disclosing
t"::           notice ofany uncorrected violations ofzoning, housing, building, safety or fire ordinances and/or a certificate permitting occupan-
j              cy of the Property. If Buyer receives a notice of any required repairs/improvements. Buyer will promptly deliver a copy of the
t-i              notice to Seller.
175              1. Within 5 DAYS of receiving notice from the municipality that repairs/improvements are required. Seller will deliver a copy
»7(,                 of the notice to Buyer and notify Buyer in writing that Seller will:
)77                  a. Make the required repairs/improvements to the satisfaction of the municipality. If Seller makes the required
i >.                    repairs/improvements, Buyer accepts the Property and agrees to the RELEASE in Paragraph 28 of this Agreement, OR
                     b. Not make therequired repairs/improvements. IfSeller chooses not to make therequired repairs/improvements. Buyer will
iM)                        notify Seller in writing within   5   DAYS that Buyer will:
im                         (1) Make therepairs/improvements at Buyer's expense, with permission and access tothe Property given bySeller, which
I!:                           will not be unreasonably withheld, OR
itf                        (2) Terminate this Agreement by written notice to Seller, with all deposit monies returned to Buyer according to the terms
i« »                          of Paragraph 26 of this Agreement.
                           If Buyerfails to respond within thetime stated in Paragraph 15(B)(1)(b) or fails to terminate this Agreement bywritten
m                          notice to Seller within that time, Buyer will accept the Property and agree to the RELEASE in Paragraph 28 of this
W7                         Agreement, and Buyer accepts the responsibility to perform the repairs/Improvements according to the terms of the
                            notice provided by the municipality.
!(-•)            2. If Seller denies Buyer permission to make the required repairs/improvements, or does not provide Buyer access before
<"0                 Settlement Date to make the required repairs/improvements. Buyer may, within 5 DAYS, terminate this Agreement bywrit-
;')i                ten notice to Seller, with all deposit monies retumed to Buyer according to the terms of Paragraph 26 of this Agreement.
I'.:             3. If repairs/improvements are required and Seller fails to provide a copy of the notice to Buyer as required in this Paragraph,
                    Seller will perform all repairs/improvements as required by the notice at Seller's expense. Paragraph 1S(B)(3) will survive
194                  settlement.
i '5 16. CONDOMINIUM/PLANNED COMMUNITY (HOMEOWNER ASSOCIATIONS) NOTICE (9-16)
m           (A) Property is NOTa Condominium or part of a Planned Community unlesschecked below.
i'>7            •. CONDOMINIUM. TheProperty is a unitof a condominium that is primarily runbya unit owners' association. Section 3407 of
(•»i                 the Uniform Condominium Act ofPennsylvania requires Seller to fiirnish Buyer with a Certificate ofResale and copies ofthe
<condominium declaration (other than plats andplans), the bylaws and the rules and regulations of theassociation.
     • PLANNED COMMUNITY (HOMEOWNER ASSOCIATION). The Property is part of a planned community as defmed by
•01    theUniform Planned Community Act. Section 5407(a) of theActrequires Sellerto furnish Buyer witha copy of thedeclaration
       (other than plats and plans), the bylaws, therules andregulations of theassociation, and a Certificate containing the provisions
=0?                  set forth in Section 5407(a) of the Act.
'U1         (B) THE FOLLOWING APPLIES TO INITIAL SALES OF PROPERTIES THAT ARE PART OF A CONDOMINIUM OR A
^u5              PLANNED COMMUNITY:
=u(.           If this is the firstsale of the propertyaftercreation of the conduminium or planned community (therefore a sale by the Declarant),
-07            Sellershallfurnish Buyerwith a PublicOffering Statement no laterthan the date Buyerexecutes thisAgreement. Buyermayvoid
'OS            this Agreement within 15 days (if a condominium) or within 7 days (if part of a planned community) after receipt of the Public
               Offering Statement or any amendment to the Statement that materially and adversely affects Buyer. Upon Buyerdeclaring this
Mfl            Agreement void, all deposit monies will be retumed to Buyeraccording to the terms of Paragraph 26 of this Agreement.
5! 1        (Q THE FOLLOWING APPLIESTORESALES OF PROPERTIESTHATAREPARTOFACONDOMINIUM ORAPLANNED COM-
5u               MUNITY:
513              1. Within       15 DAYS from the Execution Dateof this Agreement, Seller, at Seller's expense, will request from the association
511                  a Certificate ofResale and any other documents necessary to enable Seller to comply with the relevant iytfT^e Act provides
51?                  that the association is required to provide these documents within 10 days of Seller's request.

        Buyer ln!(lal$:_                                                   ASR Page 9 of 13                    Seller Inilials
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M-               2. Seller will promptly deliver to Buyer all documents received from the association. Under the Act, Seller is not liable to Buyer
                    for the failure of the association to providethe Certificate in a timely manneror for any incorrect information providedby the
                     association in the Certificate.
                 3. TheActprovides thatBuyer maydeclare this Agreement VOID at anytime before Buyer receives theassociation documents andfor
   I                5 daysafter receipt, ORuntil settlement, whichever occurs first Buyer's notice toSeller mustbein writing; upon Buyer declaring this
                    Agreement void,all depositmonies will be returned to Buyeraccording to the termsof Paragraph 26 of thisAgreement
                 4. If the association has the right to buy the Property (right of first refusal), and the association exercises that right. Sellerwill
  <                 reimburse Buyer for any costs incurred by Buyer for any inspections or certifications obtained according to the temis of the
?25                 Agreement, andanycosts incurred by Buyer for: (I) Titlesearch, title insurance and/ormechanics' lien insurance, or any fee for
-n,                 cancellation; (2) Flood insurance, fire insurance, hazard insurance, mine subsidence insurance, or any fee for cancellation; (3)
'27                  Appraisal fees and charges paid in advance to mortgage lender.
        17. TITLES, SURVEYS AND COSTS (4-14)
52''        (A) TheProperty will beconveyed with good andmarketable title thatis insurable bya reputable title insurance company at theregular
v'u             rates, fi-ee and clear of all liens, encumbrances, and easements, excepting however the following: existing deed restrictions; his-
nm              toric preservation restrictions or ordinances; building restrictions; ordinances; easements of roads; easements visible upon the
53:              ground; easements of record; and privileges or rights of public service companies, if any.
-3?         (B) Buyer isencouraged to obtain an owner's titleinsurance policy to protect Buyer. An owner's title insurance policy isdifferent from
                a lender's titleinsurance policy, which will not protect Buyer from claims and attacks on the title. Owner'stitleinsurance policies
                come in standard and enhanced versions; Buyer should consult with a title Insurance agent about Buyer's options. Buyer
>36             agrees to release and dischai^ge any and all claims and losses against Broker for Buyer should Buyerneglect to obtain an owner's
 >               title insurance policy."
            (C) Buyer will pay for the following: (1) Title search, title insurance and/or mechanics* lien insurance, or any fee for cancellation;
--y>            (2) Flood insurance, fire insurance, hazard insurance, mine subsidence insurance, or any fee for cancellation; (3) Appraisal fees
^10             and charges paid in advance to mortgage lender; (4) Buyer's customary settlement costs and accruals.
MI          (D) Seller has the right, upon request, to receive a free copy of any title abstract for the Property fi-om theparty for whom it was prepared.
54:         (E) Any survey orsurveys required bythetitle insurance company or the abstracting company for preparing anadequate legal descrip-
-43             tion of the Property (or the correction thereoO will be obtained and paid for by Seller. Any survey or surveys desired by Buyer or
Ml               required by the mortgage lender will be obtained and paid for by Buyer.
515         (F) In the event of a change in Seller's financial status affecting Seller's ability to convey title to the Property on or before the
Sift            Settlement Date, or anyextension thereof. Seller shall promptly notify Buyer in writing. Achange in financial status includes, but
517             isnotlimited to. Seller filing bankruptcy; filing of a foreclosure lawsuit against theProperty; entry ofa monetary judgment against
54S             Seller; notice of public taxsaleaffecting the Property; and Seller learning that thesaleprice of the Property is no longer sufficient
                 to satisfy all liens and encumbrances against the Property.
55<i        (G) If Seller is unable to give good and marketable title that is insurable by a reputable title insurance company at the regular rates, as
551              specified in Paragraph 17(A), Buyer may terminate this Agreement bywritten notice to Seller, with all dqiosit monies retumed to
552              Buyer according totheterms of Paragraph 26ofthis Agreement Upon termination. Seller will reimburse Buyer for any costs incurred
                 by Buyer for any inspections or certifications obtained according to the terms of this Agreement, and for those items specified in
•54              Paragraph 17(C)items (1), (2), (3) and in Paragraph 17(E).
555         (H) Oil, gas, mineral, or other rights of this Property may have been previously conveyed or leased, and Sellers make norepresentation
55<>             about the status of those rights unless indicated elsewhere in this Agreement.
-5"              •   OH, Gas and Mineral Rights Addendum (PAR Form OGM) is attached to and made part of this Agreement.
            (I) COAL NOTICE (Where Applicable)
•5')             this DOCUMENT MAY NOT SELL, CONVEY, TRANSKIiR, INCLUDE OR INSURE THE TITLE TOTHE COAL AND RIGHTS OF SUPPORT UNDERNEATH
5(11             THE SURFACE LAND DESCRIBED OR REFERRED TO HEREIN, AND THE OWNER OR OWNERS OF SUCH COAL MAY HAVE THE COMPLETE LEGAL
5(.l             RIGHT TO REMOVE ALL SUCH COAL AND IN THAT CONNECTION, DAMAGE MAY RESULT TO THE SURFACE OF THE LAND AND ANY HOUSE,
=<•?             Bt/ILDING OR OTHER STRUCTURE ON OR IN SUCH LAND. (Thisnoticeis Setforth in the manner provided in Section 1 of theAct of July
N'               17, 1957, P.L. 984.)"Buyeracknowledges that he may not be obtaining the right of protection against subsidence resulting from
•< 4             coal mining operations, and that the property described hereinmaybe protected from damage due to minesubsidence by a private
5(5              contractwith the owners of the economic interests in the coal. This acknowledgement is made for the purpose of complyingwith
                 the provisions of Section 14of the Bituminous MineSubsidence and the LandConservation Act of April 27,1966." Buyeragrees
5'-              to sign the deed from Seller which deed will contain the aforesaid provision.
            (J) The Property is not a "recreational cabin" as defined in the Pennsylvania Construction CodeAct unlessotherwise stated here:
-(.')
570         (K) 1. This property is not subject to a Private Transfer Fee Obligation unless otherwise stated here:
5^1             • Private Transfer Fee Addendum (PAR Form PTF) is attached to and made part of this Agreement.
572             2. Notices Regarding Private TVansfer Fees; In Pennsylvania, Private Transfer Feesare defined andregulated in the Private Transfer Fee
573                Obligation Act(Act 1of20Il;68Pa.C.S. §§8101, etseq.), whichdefines a Private Transfer Feeas "a feethat ispayable uponthetrans-
574                ferof an interest in realproperty, or payable for the right to make or accept the transfer, if the obligation to paythe fee or charge runs
575                withtitleto the property or otherwise bindssubsequent owners of properly, regardless of whether the feeor chai^ge is a fixed amount or
                   is detennined as a percentage of the value of the property, the purchase price or other consideration given for the transfer." A Private
                   Transfer Fee mustbe properly recorded to be binding, andsellers must disclose the existence of the fees to prospective buyers. Where
                   a PrivateTransferFee is not properlyrecorded or di,sclosed, the Act givescertain rightsand protections to buyers.
57W     18. MAINTENANCE AND RISK OF LOSS (1-14)
            (A) Seller will maintain the Property (including, but not limited to, structures, grounds, fixtures, appliances, jild^rsonal property)
                                               Igreement in its present condition, normal wearand tearexcepted.
                 speciffcaUuJifted )njhig^^greement in its present condition, normal wear and tear excepted.
        Buyer Inilial$:_              W1S£17    _                           ASR Page 10 of13                       Seller IniMal^U/^
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           (B) If any part of the Property included in the sale fails before settlement, Seller will:
               1. Repair or replace that part of the Property before settlement, OR
               2. Provide prompt written notice to Buyer of Seller's decision to:
                    a. Credit Buyer at settlement for the fair market value of the failed part of the Property, as acceptable to the mortgage lender,
'S"                     if any, OR
'i-'s              b. Not repairor replacethe failed part of the Property, and not credit Buyer at settlementfor the fair marketvalueof the failed
                       part of the Property.
'-"<1           3. If Sellerdoes not repair or replace the failed part of the Property or agree to credit Buyer for its fair marketvalue, or If Seller
                   fails to notify Buyer of Seller's choice. Buyer will notify Seller in writing within 5 DAYS or before Settlement Date,
59'                 whichever is earlier, that Buyer will:
                    a. Accept the Property and agree to the RELEASE in Paragraph 28 of this Agreement, OR
=                   b. Terminate this Agreement by written noticeto Seller, with all deposit monies returned to Buyeraccording to the terms of
5"^                     Paragraph 26 of this Agreement.
                  If Buyer fails to respond withinthe time statedin Paragraph 18(B)(3) or fails to terminate thisAgreement by written notice
                  to Sellerwithin that time, Buyer will accept the Property and agree to the RELEASE in Paragraph 28 of this Agreement.
           (C) Sellerbearsthe risk of loss from fire or other casualties until settlement. If any property included in this sale is destroyed and not
«'              replaced prior to settlement. Buyer will:
sou             1. Accept theProperty in itsthen current condition together withtheproceeds of anyinsurance recovery obtainable by Seller, OR
"I'l            2. Terminate this Agreement by written notice to Seller, with all deposit monies returned to Buyer according to the terms of
si'2                Paragraph 26 of this Agreement.
        19. HOME WARRANTIES (1-10)
           At or beforesettlement, either partymay purchase a homewarranty for the Property from a third-party vendor. Buyer and Sellerunder-
•n?        Stand that a home warranty for the Property does not alter any disclosure requirements of Seller, will not cover or warrantany pre-
'•o'>      existing defects of the Property, and will not alter, waive or extend any provisions of thisAgreement regarding inspections or certifi-
    '      cations that Buyerhas electedor waivedas partof thisAgreement. Buyerand Sellerunderstand thata brokerwhorecommends a home
           warranty may havea business relationship with the homewarranty company that provides a financial benefit to the broker.
        20. RECORDING (9-05)
!>i"       This Agreement will not be recorded in the Office of the Recorder of Deeds or in any other office or place of public record. If Buyer
ill        causes or permits thisAgreement to be recorded. Seller mayelectto treat suchact as a default of thisAgreement.
S>12 21. ASSIGNMENT (1-10)
           This Agreement is binding upon the parties, theirheirs, personal representatives, guardians andsuccessors, andto theextent assignable,
'IJ        on the assigns of the parties hereto. Buyerwill not transfer or assign thisAgreement without the written consentof Sellerunless oth-
           erwise stated in this Agreement. Assignment of this Agreement may result in additional transfer taxes.
        22. GOVERNING LAW, VENUE AND PERSONAL JURISDICTION (9-OS)
>1'        (A) The validity and construction of thisAgreement, and the rights and dutiesof the parties, will be governed in accordance with the
'If             laws of the Commonwealth of Pennsylvania.
31"        (B) Thepatties agree thatanydispute, controversy orclaimarising underor inconnection withthisAgreement or itsperformance byeither
               party submitted to a courtshall be filed exclusively by andin the state or federal courts sitting in the Conunonwealth of Pennsylvania.
5=" 23. FOREIGN INVESTMENT IN REAL PROPERTY TAX ACT OF 1980 (FIRPTA) (1-17)
i-"        Thedisposition of a U.S. realproperty interest by a foreign person (thetransferor) is subject to the Foreign Investment in Real Property
           TaxActof 1980 (FIRPTA) income tax withholding. FIRPTA authorized the United Statesto tax foreign persons on dispositions of U.S.
           real property interests. This includes but is not limited to a sale or exchange, liquidation, redemption, gifi, transfers, etc. Personspur-
           chasing U.S. real property interests (transferee) fi-om foreign persons, certain purchasers' agents, and settlement officers are required
           to withhold up to 15percentof the amount realized (specialrules for foreign corporations). Withholding is intended to ensure U.S.tax-
'i-        ation of gains realized on disposition of such interests. The transferee/Buyer is the withholding agent. If you are the transferee/Buyer
««         youmustfindout if the transferor is a foreign person as defined by theAct. If the transferor is a foreign personandyou failto withhold,
            you may be held liable for the tax.
        24. NOTICE REGARDING CONVICTED SEX OFFENDERS (MEGAN'S LAW) (4-14)
i'l        The Pennsylvania General Assembly has passed legislation (oftenreferred to as "Megan's Law," 42 Pa.C.S. § 9791 et seq.) providing
           for community notification of the presence of certain convicted sex offenders. Buyers arc cncouragcd to contact the municipal
    '      police department or the Pennsylvania State Police for information relating to the presence of sex offenders near a particular prop-
           erty, or to check the infonnation on the Pennsylvania State Police Web site at www.pameganslaw.state.pa.us.
        25. REPRESENTATIONS (1-10)
           (A) All representations, claims, advertising, promotional activities, brochures or plans of any kind made by Seller, Brokers, their
               licensees, employees, officers or partners are not a part of this Agreement unless expressly incorporated or stated in this
               Agreement. This Agreement contains the whole agreement between Seller and Buyer, and there are no other terms, obligations,
B'?            covenants, representations, statements or conditions, oral or otherwise, of any kind whatsoever concerning this sale. This
aJi)           Agreement will not be altered, amended, changed or modified except in writing executed by the parties.
           (B) Unless otherwise stated in this Agreement, Buyer has inspected the Property (including fixtures and any personal property
               specifically listed herein) before signing this Agreement or has waived the right to do so, and agrees to purchase the Property
443            IN ITS PRESENT CONDITION, subject to inspection contingencies elected in this Agreement. Buyer acknowledges that
               Brokers, their licensees, employees, officers or partners have not made an independent examination or determination of the struc
                tural soundness of the Property, theageor condition of thecomponents, environmental conditions, thepermitte^Hisbs, norof con
                ditions existing in the locale where the Property is situated; nor have they made amechanical inspection ofanyof^ systems con
                 tained therein.     ____
        Buyer Initials! I                I                               ASR Page II of 13                    Seller Inlllals:*^   G/I
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>!v          (C) Any repairs required by this Agreement will be completed in a workmanlike manner.
.50          (D) Broker(s) have providedor may provide services to assist unrepresented parties in complyingwith this Agreement.
.51 26. DEFAULT, TERMINATION AND RETURN OF DEPOSITS (4-14)
i5:          (A) Where Buyer terminates this Agreement pursuant to any right granted by thisAgreement, Buyer will be entitled to a return of all
 -5!             deposit monies paid on account of Purchase Price pursuant to the terms of Paragraph 26(B), and this Agreement will be VOID.
 -5-             Termination of thisAgreement may occurfor other reasons giving rise to claims by Buyer and/or Sellerfor the deposit monies.
             (B) Regardless of the apparent entitlement to deposit monies, Pennsylvania law does not allow a Broker holding deposit monies to
    •            determine who is entitled to the deposit monies when settlement does not occur. Brokercan only release the deposit monies;
                 1. If this Agreement is terminated priorto settlement and there is no dispute overentitlement to the deposit monies. A written
'5!^                 agreement signed by both parties is evidence that there is no dispute regarding deposit monies.
                 2. If, after Broker has received deposit monies. Broker receives a written agreement that is signed by Buyer andSeller, directing
                      Broker how to distribute some or all of the deposit monies.
   <               3. According to the terms of a final order of court.
.!• '             4. According to the terms of a prior written agreement between Buyerand Seller that directs the Brokerhow to distribute the
"'                   deposit monies if there is a dispute between the parties that is not resolved. (See Paragraph 26(C))
              (C) Buyer and Seller agree that if there is a dispute overthe entitlement to deposit monies that is unresolved       days (180 if not
   '              specified) after the Settlement Date stated in Paragraph 4(A) (or any written extensions thereoO or following termination of the
                   Agreement, whichever is earlier, then the Broker holding the deposit monies will, within 30 days of receipt of Buyer's written
i6;                request, distribute the deposit monies to Buyer unless the Broker is inreceipt of verifiable written notice that the dispute isthe sub-
                   jectof litigation or mediation. If Broker has received verifiable written notice of litigation prior to thereceipt of Buyer's request for
   "               distribution, Broker will continue to hold the deposit monies until receipt of a written distribution agreement between Buyer and
•Seller or afinal court order. Buyer and Seller are advised to initiate litigation for any portion ofthe deposit monies prior to any dis-
"1   tribution made by Broker pursuant to this paragraph. Buyer and Seller agree thatthedistribution of deposit monies based upon the
'passage of time does not legally determine entitlement to deposit monies, and thatthe parties maintain their legal rights to pursue
>' •               litigation even after a distribution is made.
.•j           (D) Buyer and Seller agree that a Broker who holds ordistributes deposit monies pursuant to theterms of Paragraph 26or Pennsylvania
 'S               law will not be liable. Buyer and Seller agree that if any Broker or affiliated licensee is named in litigation regarding deposit
                  monies, the attorneys' fees and costs of the Broker(s) and licensee(s) will be paid by the party naming
^-'                them in litigation.
              (E) Sellerhas the option of retaining all sums paid by Buyer, including the deposit monies, shouldBuyer:
                   1. Fail to make any additional payments as specified in Paragraph 2, OR
»so                2. Furnish false or incomplete information to Seller, Broker(s), or anyotherparty identified inthisAgreement concerning Buyer's
                       legal or financial status, OR
                   3. Violate or fail to fulfill and perform any other terms or conditions of this Agreement.
              (F) Unless otherwisechcckcd in Paragraph 26(G), Sellermay electto retain those sumspaid by Buyer, including deposit monies:
«i                 1. On account of purchase price, OR
                   2. As monies to be applied to Seller's damages, OR
ssft               3. As liquidated damages for such default.
              (G)0 SELLER IS LIMITED TO RETAINING SUMS PAID BY BUYER, INCLUDING DEPOSIT MONIES, AS LIQUIDATED
                       DAMAGES.
!.s''         (H) IfSeller retains all sumspaidby Buyer, including deposit monies, as liquidated damages pursuant to Paragraph 26(F) or (G),Buyer
iM                and Seller are released from farther liability or obligation and this Agreement is VOID.
"'I           (I) Brokers and licensees are not responsible for unpaid deposits.
          27. MEDIATION (1-10)
s«            Buyer andSeller will submit all disputes or claims thatarise from this Agreement, including disputes andclaims overdeposit monies,
5'*^          to mediation. Mediation will be conducted in accordance with the Rules and Procedures of the Home Sellers/Home Buyers Dispute
i '5          Resolution System, unless it is not available, in which case Buyerand Sellerwill mediate according to the terms of the mediation sys-
»'<           tem offered orendorsed bythelocal Association of Realtors*. Mediation fees, contained inthemediator's fee schedule, will bedivided
    '         equally among theparties and will be paid before the mediation conference. This mediation process mustbe concluded beforeany party
              to the dispute may initiate legal proceedings in any courtroom, with the exception of filing a summons if it is necessary to stop any
5' "          statute of limitations from expiring. Any agreement reached through mediation and signed by the parties will be binding. Any agree-
'<><'         ment to mediate disputes or claims arising from this Agreement will survive settlement.
 •H 28. RELEASE (9-05)
              Buyer releases, quit claims and forever discharges SELLER, ALL BROKERS, their LICENSEES, EMPLOYEES and any OFPI-
 '•           CER or PARTNER of any one of them and any other PERSON, FIRM or CORPORATION who may be liable by or through
              them, from any and all claims, losses or demands, including, but not limited to, personal injury and property damage and all of the
71)5          consequences thereof, whether known or not, which may arise from the presenceof termites or other wood-boringinsects, radon, lead-
              based paint hazards,mold, fungior indoor air quality,environmental hazards,any defects in the individual on-lot sewagedisposalsystem
      '       or deficiencies in the on-site water service system, or any defects or conditions on the Property. Should Seller be in default under the
              terms of this Agreement or in violation of any Seller disclosure law or regulation, this release does not deprive Buyer ofany right to pur-
-OQ           sue any remedies that may be available under law or equity. This release will survive settlement.
          29. REAL ESTATE RECOVERY FUND (9-05)
              AReal Estate Recovery Fund exists to reimburse any persons who have obtained a final civil judgment againsf                  ^nsylvania real
              estate licensee (or a licensee's affiliates) owing to fraud, misrepresentation, or deceit in a real estate transaction       ^ho have been

          Buyer Initials:,    jmiXL                                         ASR Page 12 of 13                      Seller Initiali
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714         unable to collectthe judgment after exhausting all legal and equitable remedies. For complete details about the Fund,call (717) 783-
715         3658 or (800) 822-2113 (within Pennsylvania) and (717) 783-4854 (outside Pennsylvania).
716    30. COMMUNICATIONS WITH BUYER AND/OR SELLER (1-10)
717         (A) If Buyer is obtaining mortgage financing, Buyer shall promptly deliver to Broker for Buyer, if any, a copy of all Loan Estimate(s)
718                     and Closing Disclosure(s) upon receipt.
            (B) Wherever this Agreement contains a provision that requires or allows communication/delivery to a Buyer, thatprovision shall be
":o             satisfied by communication/delivery to the Broker for Buyer, if any, cxccpt for documents required to be delivered pursuant to
721             Paragraph 16. If there is no Broker for Buyer, those provisions may be satisfied only by communication/delivery being made
121             directly to theBuyer, unless otherwise agreed to by the parties. Wherever thisAgreement contains a provision thatrequires or allows
723             communication/delivery to a Seller, that provision shall be satisfied by communication/delivery to the Broker for Seller, if any. If
724             there is no Broker for Seller, those provisions may be satisfied only by communication/deliveiy being made directly to the Seller,
                        unless otherwise agreed to by the parties.
•rj,   31. HEADINGS (4-14)
-jyi
            Thesection and paragraph headings in this Agreement arefor convenience onlyand arenotintended to indicate all of thematter in the
728'        sections which follow them. They shall have no effect whatsoever in determining therights, obligations or intent of the parties.
72*>   32. SPECIAL CLAUSES (1-10)
7?0         (A) The following are attached to and made part of this Agreement if checltcd;
~M                  •       Sale & Settlement of Other Property Contingency Addendum (PAR Form SSP)
IM                  •       Sale & Settlement of Other Property Contingency with Rightto Continue Marketing Addendum (PAR Form SSPCM)
7?.>                •       Sale & Settlement of Other Property Contingency with Timed KickoutAddendum (PAR Form SSPTKO)
*.U                 •       Settlement of Other Property Contingency Addendum (PAR Form SOP)
7.^5                •       Appraisal Contingency Addendum (PAR Form ACA)
7.U.                •       Short Sale Addendum (PAR Form SHS)
?'7                 •
                    •
7.t9                •
740         (B) Additional Terms;
741

7i2

74.1

71-1

745

       Buyer and Seller acknowledge receipt of a copy of this Agreement at the time of signing.

74-; This Agreement may be executed in one or more counterparts, each of which shall be deemed to bean original andwhich counterparts
       together shall constitute one and the same Agreement of the Parties.

74')   NOTICE TO PARTIES;WHEN SIGNED, THIS AGREEMENT IS A BINDINGCONTRACT. Parties to thistransaction are advised
750    to consult a Pennsylvania real estate attorney before signing if they desire legal advice.

751    Return of this Agreement, and any addenda and amendments, including return by electronic transmission, bearing the signatures of all
"s:.   parties, constitutes acceptance by the parties.

75:<   10/18/17     ' 10/18(17       Buyerhas received the Consumer Noticeas adopted by the State Real Estate Commission at 49 Pa. Code §35.336.

7W                  '    10/18/17    Buyer has received a statement of Buyer's estimated closing costs before signing this Agreement.
         /HiiM
755     10/18/17          10/18/17   Buyer has received the Deposit Money Notice (for cooperative sales whenBroker for Selleris holding deposit money)
.'5&   2:S8PM EOT       1:07PM EOT
                                     before signing this Agreement.

       10/18/17           10/18/17Buyer has received the Lead-Based Paint Hazards Disclosure, which is attached to this Agreement of Sale. Buyer has
75S
       2;58PM ED'
                                " received the pamphlet ProtectYour Family from Lead in YourHome (for propertiesbuilt prior to 1978).
                        1:07PM 6DT




       BUYER
                                                                                      ?0/18/f7'l      EOT DATE
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                                                                                         dotloopvenr^d
760    BUYER                                                                             10/18/17 1:07PM
                                                                                         EDT
                                                                                                            DATE.
       BUYER                                                                                                DATE.

       Seller has receive                 ^Consumer Notice ^derated \>y the State Real Estate Commission at 49 Pa. Code §35.336.
       Seller has receive                 atement ofSellerXestim^jffl^osing costs before signing this Agreement.
       SELLER                                                                                               DATE

       SELLER                                                                                               DATE
       SELLER                                                                                               DATE

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                                     "AS IS. WHERE IS"
                                      ADDENDUM TO
                                   AGREEMENT OF SALE


   SELLER: Natalie Lutz Cardiello, Trustee for the Bankruptcy Estate of:

   JOHN W. & CAMBRIA L. SORENSON


                                            and


              M. Kent Moorhead II and Sharon A. Moorhead
   BUYER: _


                322 Bascom Ave, Pittsburgh, PA 15212
   PROPERTY:


   THIS ADDENDUM is attached to and made a part of the agreement of sale between
   the above referenced parties dated                   ("Agreement").

   Buyer(s) is/are purchasingthe above referenced property in "as is,where is,"
   condition, without any warranties of any kind, includingwarranties of
   marketability, habitability, merchantability or fitness for a particular use. The
   propertywill be conveyed by"SPECIAL WARRANTY" deed. No evidence oftitle, title
   insurance policy or abstract of title will be provided by the Seller.

   Buyer(s) will HOLD HARMLESS Seller, the real estate companies and their
   respective agents as to the condition of the property and its systems. Buyer(s)
   acknowledge(s) that he/she/they have thoroughly inspected and examined this
   property and are not relying on any statements of the Selleror her representatives
   as to the condition of the property including any latent defects. Seller has no
   obligation to make any repairs or renovations to the property as a requirement of
   lender and/or the local building inspector or the failure of any system prior to
   closing. BuyerCs) is/are responsible for any and all costs associated with a required
   land and or buildinginspection and or dye test, for turning on and offutilities, and
   for paying utility charges if required for any such inspection or dye test.

   It is understood that this entire Agreement is subject to approval by the United
   States Bankruptcy Court for the Western District of Pennsylvania. Anyoffer to
   purchase accepted by the Sellerwill onlycommitthe seller to file a motion with the
   Bankruptcy Court for approval of the sale to the prospective Buyer, at which time of
   hearing in open court the Bankruptcy Court Will solicit high and/or better offers.
   However, should unforeseen circumstances arise and the Seller determines not to
   proceed with the sale, the Seller may withdraw such motion and return Buyer's
   hand money, if appropriate, in accordance with the preceding paragraph.
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   Closing shall occur on or before ten days from the date of the Order of Sale becomes
   final and a non-appealable, or at such other time as may be acceptable to the Seller's
   counsel, with all such payments to be via certified check, cashier's check, or such
   other forms of assured and guaranteed payment as may be acceptable to the Seller's
   counsel.


   This agreement shall be construed under Pennsylvania law. Any disputes arising
   hereunder shall be settled by the United States Bankruptcy Court for the Western
   District of Pennsylvania.

   The terms of this addendum shall control and any language in the main body of the
   Agreement which is inconsistentor conflicts with the language of this Addendum
   shall be null and void.

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                                 10/16/T78.46(>V(DT                            10/17/17 S26AM EDT
                                 CHHS-LI3KF.36ftX.ZBW)                         SSVC-UWY-lSQA^WH



   Witness                                     Date      Buyer                         Date

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                                dot!oop v*r(ft«d                             10/16/179.07T'U£DT
                                                                             10/16/
                                10/16/17 8 46PM CDT

   f-                           ORWH.IKAV.SBURMOA2
                                                                             l06t.TXNM<RKK-KU>9




   Witness                                     Date




   Witness                                     Date                      e, Seller Date
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             Purchase & Sale of Real Property Contract Addendum


                                     Property Address
1   Buyer acknowledges that this property is subject to Short Sale Lender Approval & Bankrupt
    Court Approval.

2 The Bankruptcy Estate Fee is to be paid by the Sellers proceeds or through a buyer's premium
    and made payable to the Bankruptcy Estate.

3   Buyer acknowledges that the property is sold "AS IS". Absolutely no repairs will be authorized.
    The Seller is unable to remove any debris or personal property left on the Property and does
    not warrant that there will be any appliances or other personal property left on the Property.

4   Seller shall make no concessions and can pay no closing costs for the buyer.

5   Escrow will be opened with:

           COMPANY NAME         Avid Settlement

                   ADDRESS      410 Rouser Road, Suite 402

            CITY, STATE, ZIP    Moon Township. PA 15108

                        PHONE   412-865-4001

                        EMAIL   avid@avidsettlenrient.com

6   Earnest money deposit will be no less than 1% of the purchase price. Upon acceptance, ear
    nest money will be deposited with the Escrow/Title Company in the form of a cashier's check
    or bank wire within 48 hours of acceptance.

7   The Seller in this transaction is exempt from providing the Home Owner's Association docu
    ments, as this is a court-ordered sale. Buyer will be solely responsible for any application,
    transfer, capital contributions and initial membership fees charged by the Association.
    Buyer is aware it may take up to 10 days to receive a response from the Federal Bankruptcy
    Trustee (Seller).

8   Buyer may cancel the Residential Purchase Agreement for any reason without penalty any
    time after 120 days from Seller's acceptance date, if Short Sale Investor Approval has not been
    received.

9   Upon Investor approval of sale, buyer shall be prepared to close escrow within 45 days. Upon
    Bankruptcy Court Approval of sale, buyer agrees to close escrow per Federal Bankruptcy
    Trustee instructions.
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11    Buyer shall be responsible for the connection of utilities to perform inspections/final walk
      through pursuant to the Residential Purchase Agreement,

12    Buyer acknowledges that the seller may not have access to garage remotes, mailbox keys or
      access related keys to property. Seller will tender any items available at the close of escrow
      but shall not be liable to provide items not in his/her possession.

13    Buyer shall immediately disclose if he/she is related to the debtor. Buyer understands that
      most investors require an Arm's Length Disclosure, and some investors will not allow a family
      relation to purchase a property in which a related debtor may have interest.

14    Should buyer be representing self as an agent, buyer understands that some investors will not
      allow Buyer(s) to receive any funds or commissions from the sale of the property.

15    Property must be purchased in an individual name or LLC. Offers in the name of a corporation,
      trust or partnership are not acceptable. If purchased by an LLC, buyer shall provide a copy of
      the articles of organization to include authority of signer to sign on behalf of the LLC.

16    Seller will not pay for Appraisal and/or Home Warranty.

      Buyer understands and agrees that this addendum shall take precedence where any terms
      conflict with the original Residential Purchase Agreement.


               DATED this       day of           ,201


                                                         Buyer

                                                                                     dodoep v«rtn«d
                                                                                     10/18/17 12.S6PM EOT
                                                                                     C7FMEtQ.UV36-(>6B$



     Signatu                                            Signature


     Print Name                                          Print Name



                                                        Title


                                                         Buyer

                                                                                        dotlocp vfnfiod
                                                                                        10/1B/T?1.07PM £DT
                                                                                        OQFU-OFOX*QUVN-SCeY


                                                         Signature



                                                         Print Name




                                                        Title
                Case 16-24825-JAD
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                         -ic.                          Doc 59-1 Filed 01/08/18 Entered 01/08/18 10:15:12                                                        Desc
                                                      Exhibit A - Sales Agreement Page 18 of 18


         ADDENDUM/ENDORSEMENT TO AGREEMENT OF SALE                                                                                                                     ASA
         This fonn recommended and approved for. but not rcstrictcd to use by, ihe membersof the PennsylvaniaAssocialionof REALTORS^ (PAR).

         PROPERTY 622 Bascom Avenue. Pimburgh. PA. PA 15212
         SELLERNatalieCardlello, BK Trustee for the Estaie of John and Cambria Sorensen
         BUYER Sharon A. Moorhead and M. Kent Moorhead II
         DATE OF AGREEMENT 10/27/2017


      rhe Seller's Name shall be: Natalie Cardiello, BKTrustee for the Estate of John and Cambria Sorensen




         All other terms and conditions of the Agreement of Sale remain unchanged and in full force and effect.

         BUYER                                                                                                                                    DATE
         BUYER                                                                                                               10/37/178:S7PM IDT   DATE
         BUYER                                                                                                                                    DATE
         SELLER                                                                                                                                   DATE
                                                                                                                                                  u/iii:.   /     /
         SELLER                                                                                                                                   DATE /0/30//7
         SELLER                                                                                                                                   DATE




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